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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF RHODE ISLAND


JOHN DOE,
               Plaintiff,

v.                                                         C.A. No.: 1:19-cv-00232-WES-PAS

SALVE REGINA UNIVERSITY
          Defendant.


                                 DISMISSAL STIPULATION


       Plaintiff John Doe and Defendant Salve Regina University (“Salve”) stipulate and agree

by and through their undersigned counsel that this action is hereby dismissed, with prejudice, no

costs to award and all rights of appeal waived.



 JOHN DOE                                          SALVE REGINA UNIVERSITY

 By His Attorney,                                  By Its Attorney,
 /s/ Stephen J. Brouillard
 /s/ Theresa L. Sousa                              /s/ Steven M. Richard
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                                      CERTIFICATION


      I hereby certify that, on this 22nd day of May 2019, this Stipulation was electronically filed

and served via the Court’s CM/ECF system.



                                                            /s/ Stephen J. Brouillard




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